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                                                                                       CLERKS OFFICE Uxz
                                                                                                      s DISTRICT COURT
AO 91(Rev.11/11) CriminalComplaint                                                             Ay ABjNuwoNjVA

                                U NITED STATESD ISTRICT COURT
                                                         orthe                                       JUN C5 2019
                                              W esternD istrictofVirginia                         JULIAC. UO EY,   R

               United StatesofAm erica                                                            BY:


                  SamanthaMari
                             eMi
                               ler                                casexo.).IqRJ 7:

                       Defendant(s)

                                            CRIM G A L C O M PLA IN T

        1,thecomplainantinthiscase,statethatthefollowi
                                                     0n
                                                      éYistrV
                                                            uy6tyltë
                                                                   hebestofmyknowledgeandbelief.
onoraboutthedatets)of                   octobera,20        pe. inthecounty of                 pul
                                                                                                aski          inthe
   Western     Districtof                Virginia       ,thedefendantts)violated:
           CodeSection                                              O.J#wacDescr+tion
21USC b841                                 PossesswiththeIntenttoDistribute aControlledSubstance




        Thiscriminalcomplaintisbased on thesefacts:
SeeAttached Affidavit




        d Continuedontheattachedsheet.

                                                                                  Complainani'
                                                                                             ssignature
                                                                            Brandon C.Vines,ATF Speci
                                                                                                    alAgent
                                                                                    Printednameand title

Swornto beforeme and signed in my presence.

Date: $5 /:
                                                                                     Jlàgc'
                                                                                          ssignature
City and state:                      Abingdon,VA                              Pamela Meade Sargent,USMJ
                                                                                   Printednameand title
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                             AFFIDAVIT o F Blu xoox vlxEs
      spsclAt,AGENT DEPARTMENToFJcsTlcE BCRQ CoFAl-couot,,
                 TlsAcco,FIREARMSAxoExk oslvEs
       1,Brandon V ines,being duly sworn,do hereby depose and state:

                                           Introduction

        1.     Your A ffiant, Brandon Vines, is a Special A gent w ith the Bureau of A lcohol,
Tobacco,Firearms:ndExplosivej(<$ATF''),United StatesDepartmentofJustice,andhasbeen
em ployed in such capacity since Decem ber 2013.Your A ffiant has successfully com pleted the
Crim inalInvestigator Training Program and the A TF SpecialA gentB asic Training A cadem y at
the Federal Law Enforcem entTraining Center,located in G lynco,Georgia,w here your Affiant
received specialized training in the investigati6n offederalcrim esinvolving tireanns,alcoholand
tobacco diversion,arson and explosives and narcotics. Y our A ffiantis cucently assigned to the
W ashington Field Division,BristolField Office,w hich investigatesviolations offederalfireal'      ms
law s,violent crim e and arm ed narcotics trafficldng. D uring m y tenure w ith A TF, one of m y
prim ary duties has been investigating firearm s and narcotics trafficking enterprises. D uring m y
tim e with the ATF,Ihave received training on narcotics and tirearm strafficlcing and the m ethods
used by narcotics and firenrm s traffickers. In addition, 1 have been involved in arrests and
interview sofnarcoticsand firearm straffickers.Ihave also been involved in w iretap investigations
and the execution of search w arrantsin relation to narcotics and firearm s trafticlcing. A s a result,
1am fam iliarwith the m anner and m eans ofnarcoticsand firenrm strafficldng.

       2.      Priorto m y em ploym entw ith ATF,lw as a sworn police officerw ith the M em phis
Police D epartm entfor over five years.Throughoutm y career as a sw orn police officerw ith the
M em phis Police D epartm ent, 1 have participated in num erous investigations and prosecutions
involving state firearm sand drug-related offenses

       3.     This affidavit is m ade in support of com plaint against Sam antha M arie M iller,
charging herw ith possession w ith intentto distribute controlled substanceson O ctober3,2018,in
theW esternDistrictofVirginia,inviolationof21U.S.C.j841(a)(1).
      4.    M W LER'S crim inal history includes the following arrest. O n June 29, 2018,
M ILLER w as arrested in Georgia for conspiracy to com m it a m isdem eanor and givtng to or
possessionbyinmatesprohibited (felony).M ILLER isawaitingtrialontheabovecharges.
        5.     The follow ing inform ation contained in this affidavitis based on m y training and
experience,m y personal observations in this investigation,incltlding inform ation learned from
interview s,and inform ation provided to m e by otherlaw enforcem entofficials. N otallofthe facts
ofthe investigation know n to m e are contained herein,only those necessary to establish probable
cause forthe stated offense.

                                  Sum m ary of the Investization
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       6.     Youraffianthasbeen involved in an investigation related to the violation offederal
m etham phetnm ine trafficking law sby Sam antha M arie M W LER.The investigation,conducted in
conjunctionwiththeClaytorLakeRegionalDrugTaskForceandATF,hasincludedsurveillance,
interview swith defendants,and m ultiple arrest.


              October3,2018:ArrestofjamanthaM illerandHopson

        7.      On October 02,2018,the CLRDTF utilized a ConfidentialSource,herein referred
to asCS-2,to m ake arrangem entsto have a quantity ofcrystalm eth delivered to him /herata hotel
in Dublin,VA .The CS m ade severalphone callsand senttextm essagesback and forth forseveral
hoursto setup the tim e and location ofthedelivery.The CS w ascom m unicating w ith an individual
in prison w ho appeared to be aH ispanic m aleto arrange the delivery and a driverw ho would bring
the crystalm eth to the CS.

        8.      On O ctober 2,2018 at 12:12 p.m .,CS-2 placed a recorded telephone callto the
delivery driverw ho he/she knows as Am ina attelephone num ber470-409-6231.A m ina w aslater
identified as Sam antha M W LER .Below is the telephone callin its entirety.
                M ILLER : W hat'sup?
                CS: Hey,w hatare you doing?
                M W LER : Sick as helltrying to getready.1gotsom e shit1gotto do today.
                CS: Oh yeah,so you aintup fora trip.
                M W LER : Ithirlk I've gottw o tripsalready today,shit.
                CS: Am Ione ofthem ?
                M W LER :U /lthe fuck out.ldon'tthink so.Ithink,1thought,Idon'tknow .
                Itw as supposed to be Tennessee isw hat1w as told yesterday.A nd then this
                m orning m y guy m essaged m e and said Tennessee and N orth Carolina.A nd
                Iw aslike,w hatthe fuck.
                CS:um hm m . '
                M W LER :So rightnow I'm trying to renta carcause Ineed brakes on m ine
               andIdon'tfeellikewaitingforminetogetfixed.SoI'm justgoingtorenta
              carand.
              CS:Oh wellthey sentm e a textsaying letm e know when you're ready.A nd
              1'm been beyond ready.
              M ILLER :A nd a1lIgot,1 ainteven gotthatm uch.l'm going to have to do
              another pickup.Because rightnow,Ihave your half that 1w as supposed to
              bring up lasttim e.That'sit. And Idon'tthink hom eboy ispulling his phone
              outuntil5 or6.
              CS:Yeah,ltried to callhim and its going straightto voicem ail,so.
              M ILLER :Y eah,he told m e he would geta hold of m e around 5 or 6.A 1lI
              can do isem ailm y guy and tellhim to have him pullhis phone out.To t'ind
              outexactly w hat's going on.Cause l willhave to do anotherpickup ifl do
              anytlling.
              CS:Yeah
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              M W LER :Uh,lknow lw illhave Tennessee stuffw ith m e.W hich isn'tthe
              sam e asyours.
              CS:Y eah.
              M ILLER :B utthat's a four hour trip.1could probably have that done and
              overw ith as soon as lpick thiscarup.B y the tim e he pulls hisdam n phone
              outIw illbe on m y w ay back.
              CS:Y eah,so whatdo you w antto shootfortom orrow then?
              M D LER:Y eah,probably tom orrow m orning m aybe orafternoon.
              CS:A lright
              M Y LER:Justto be sure.
              CS:A lright,well.
              M ILLER:U/1,and 1w illm ake sure,Iw illgetin touch w ith them too.Like l
              said,they are supposed to getin touch w ith m eat5 or6.So,we w illsee what
              happensthen6utifyou getintouchwiththem beforethen,then maybeyou
              can m ake ithappen.
              CS:Yeah,yeah Im ean if Iwasto talk to them Iprobably could butlike you
              said rightnow theirphones are off,so.
              MX LER:Um hmm,myguy too.CauseIjusttriedcallinghim too and he
              aint gothis outeither.So I don't know if their doing som ething today or
              what.
              CS:Yeah,theirprobably doing a shakedow n orsom ething.
              M ILL ER :R ight,U/Icareful.
              CS:Alright.
              M Y LER :M right,w ellletm e know ifyou hearanything else.
              CS:Alright.
              M ILLER :A lrightbye
              CS:A lrightbye.

       9.      On October02,2018 follow ing the callw ith M ILL ER ,Cs-z' received a telephone
callfrom whatappeared to be a H ispanic m ale.Investigators recorded the telephone call.B ased
on your aftiants experience and know ledge of the case,your affiantbzlieves thatCS-2 and the
Hispanic m ale were discussing the am ountofcrystalm eth to be delivered.

       10. The CS arranged to m eetM W LER atthe H oliday Inn located at 4428 Cleburne
Boulevard, D ublin, V irginia 24084. The CLRD TF along with the CS w aited at the hotel in
preparation for the arrivalof M ILLER .A tapproxim ately 4:40 a.m .,on October 3,2018,the C S
received a textm essage from M W LER stating thatshe w ould arrive in tw enty m inutes.The text
message was sent from telephone number 470-409-6231. CLDTF surveillance teams were
occupying the parlcing 1otofthe hotelin preparation forM ILLER to arrive.

        11. On October 3,2018 at approxim ately 5:10 a.m .,M ILL ER arrived in the parking
lot.CS-2 exited the hoteland approached the vehicle.M D LER exited the frontpassenger side of
the vehicle and began w allcing tow ard the hoteland the CS.M ILLER w ascarrying anotebook and
a Victoria's Secret shopping bag. CLRDTF m em bers detained M W LER and located
approxim ately 3.2 poundsofsuspected crystalm eth inside ofthe V ictoria'sSecretbag.The driver
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of the vehicle w as detained and later arrested by CLRD TF m embers.The w hite fem ale that
possessed the suspected crystalm eth w as then identified as Sam antha M Y LER .The driver w as
identified asJenniferH OPSON .                                   '

                                          Conclusion

        Therefore,based on the facts setforth above,youraffiantbelieves there is probable cause
to believe that the defendant Sam antha M iller possessed w ith intent to distribute a controlled
substance on O ctober 3, 2018, in the W estern D istrict of Virginia, in violation of 2l U .S.C.
j841(a)(1).


Affiant'
       .
                              randon ines
                             SpecialA gent
                             BureauofAlcohol,Tobacco,FkearmsandExplosives
                                                         #
Sworn to before m e and stlbscri   1 m y presence this       day ofJune 2019.



                             Honorable Pam ela M .Sargent
                             U nited States M agistrate Judge
